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                      WHITE HOUSE STAFFING MEMORANDUM

DATE:          6£ 2             ACTION/CONCURRENCE/COMMENT DUE BY: V [ >  c




SUBJECT:



                          ACTION   FYI                             ACTION
    VICE PRESIDENT          m           •       McCURRY               •
    BOWLES                          •           McGINTY               a/          •
    McLARTY                 •       •           NASH                  •       •   n
        PODESTA                     •           RUFF                  •           •
    MATHEWS                         •           SMITH                             •
        RAINES                      •           REED                              •
        BAER                        •           SOSNIK                            •
        ECHAVESTE                   • •         LEWIS                             •
        EMANUEL                     •            YELLEN                •          •
        GIBBONS                     •           STREETT                •           •
        IBARRA              •       •           FPERT.TNG                          •
        RADD                •        •          TARULLO                            •
        HIGGINS             •        •          VERVEER                   •        •
        HILLEY                       •                                             •
        KLAIN               5 /             •    _                        •           •
        BERGER              •           •                                 •           n
        LINDSEY             •           •                                 •           •

REMARKS:


RESPONSE:




                                                                      Staff Secretary




                                                                                  P00000132938
6/24/97 8:00 a.m.

                PRESIDENT WILLIAM JEFFERSON CLINTON
     ADDRESS TO THE UN SESSION ON ENVIRONMENT AND DEVELOPMENT
                            NEW YORK CITY
                             JUNE 26, 1997

Acknowledgments: Mr. President, Mr. Secretary General, Distinguished Leaders.


Five years ago in Rio de Janeiro, the nations of the world joined together around a simple but

revolutionary proposition: that today's progress must not come at tomorrow's expense — that the

earth we leave to our children must be as rich with promise and beauty as the one we inherited.



At Rio, the world embraced a compelling reality: our responsibilities to build a brighter future for

our people and to protect the environment are inextricably linked together. Just as our nations

must work together to promote growth, good jobs and social progress, we must join together in

safeguarding the natural resources on which growth, jobs and progress depend.      Today, we

know that our well-being depends on keeping our forests healthy and whole, our air clear and

oceans clean. We understand that how well a country fulfills these obligations affects more than

just its own citizens ~ because what comes out of a smokestack or goes into the water in one

nation can do grievous harm to others. And we have learned that preserving the resources we

share is crucial to stability and peace, within nations and among them.



In the years since Rio, our shared resolve has led to real progress. The United States is proud to

have led the effort to ban dumping of radioactive wastes in the oceans... and reduce marine

pollutionfromsources on land. With others, we are working to protect the precious coral

reefs...conserve threatenedfish...andstop ozone depletion which threatens life in the ocean and on

land. We are partners in the effort to stop the advance of deserts. And we helped forge a              flDl




                                                                                              P00000132939
P00000132940
consensus at the Cairo Population Conference on the individual's right to make family planning

choices and to gender equality.



We are also making important strides here in America. We have cleaned up a record number of

toxic waste dumps — though we have many more to clean. We passed tough new laws to better

protect our water, created new national parks and monuments and prevented mining in

Yellowstone and oil and gas development in the Arctic National Wildlife Refuge. Our efforts for

environmental protection, economic growth and social improvement are increasingly united ~ and

I am proud of the work my Council on Sustainable Development is doing to strengthen that unity.



But in the last five years, we have all learned a hard reality: achieving the goals we set for

ourselves in Rio will be more difficult than we thought. The father of American conservation,     -

John Muir, said, "When we try to pick anything out by itself, we find it hitched to everything else

in the universe." That is the glory of nature, which we see in the rainforest's web of life or Muir's

beloved California woodlands; it is also the hurdle before mankind as we try to manage the
                                                                       «

complex relationship between human society and the natural world. As Vice President Gore said

on Monday, "Sustainable development requires sustained commitment."


Nowhere is this more true than on the critical issue of climate change. The problem is profound

and far-reaching: Concentrations of greenhouse gases in the atmosphere are at their highest level

in more than 200,000 years and climbing sharply. If the trend is not changed, scientists expect the

seas to rise two feet or more in the next century. In America, that means 9000 square miles of

Florida, Louisiana and other coastal areas will beflooded...inAsia, 17% of Bangladesh, now

home to 6 million people, will be lost...islands such as the Maldives will disappear from the map.



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The changed climate will disrupt agriculture, cause severe droughts andfloods...andthe spread of

infectious diseases, including 50 million or more cases a year of malaria.



No nation can escape this danger. No nation can evade its responsibility to confront it. We must

all do our part ~ industrial nations that emit the largest quantities of greenhouse gases and

developing nations whose emissions are growing rapidly. My own country's responsibilities are

clear. With only 4% of the world's population, the United States emits more than 20% of the

world's greenhouse gases. That must ••- and will ~ change.
                                            y

Let us be clear: This effort will not be easy. It will carry significant costs. And it will demand

sustained effort over many decades. Governments and industries will have to make significant

investments to create new technologies and curtail pollution. Meeting our goals will require that

we innovate...distribute the burden fairly within our societies...try new and creative measures like

flexible emissions trading...and above all, use common sense to achieve maximum protection of

the environment at the lowest possible cost.



To realize our commitment, we must make our people full partners in this great enterprise.

Ultimately, their ingenuity and determination — as well of that of people around the world ~ will

decide our success. Our immediate task is to galvanize our people so that they understand the

scope of the challenge and embrace it ~ and in the coming months, I will work to do exactly that.

With others in my government, I will speak to the American people about every aspect of climate

change, including at a White House Conference on Climate change this fall. We will lay out the

scientific facts so that they understand why we must act...and the economic facts so that they

understand the benefits and the costs. And we will summon the best ideas and strategies from




                                                                                                P00000132943
those who recognize in this global problem a global opportunity ~ to develop essential new

technologies...increase productivity and energy efficiency...and tum this challenge to our

advantage.



Our dialogue with the American people will underpin the decisions we must make on what we

must do. We will bring a strong commitment to Kyoto in December. There, we and the global

community will set realistic, binding limits that return greenhouse emissions to 1990 levels and

then reduce them.



Today, I want to discuss three initiatives that will help us confront the problem of climate change

and advance the sustainable development goals we share.



First: To help developing nations reduce greenhouse gas emissions, I am pleased to announce that

the U.S. will provide them with $1 billion in assistance over the next five years. These funds will

go to programs that support energy efficiency, develop alternative energy sources and advance

better resource management to promote growth that does not adversely affect the climate.



Second: Aid alone cannot guarantee that sound, sustainable practices take root in the developing

nations. Only when nations build thriving economies with free markets and embrace wise

environmental policies can these goals be achieved. That is why the United States will work

harder to encourage private investment that meets environmental standards. Starting today, the

U.S. Overseas Private Investment Corporation will require that its projects adhere to new and

strengthened environmental guidelines. In our era, trade and investment — not aid ~ are the




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primary engine of economic change. This effort can pave the way to common guidelines for

responsible investment...and greatly strengthen sustainable growth in developing countries.



Third: At home, we must unleash more of the creative power of our people to meet the challenge

of climate change. Already, we are working with our auto industry to advance thefrontiersof

technology and produce cars that are three times as fuel efficient as today's models. But we must

do more. For example, we must find ways to use the sun's energy to reduce our reliance on fossil

fuels. To advance that effort, I am announcing today that our government will work with

America's communities to install solar panels on 1 million roofs around our nation by the year

2010.   By capturing the sun's warmth, we can help turn down the earth's temperature.



Distinguished leaders: In all of our cultures, the thought has been handed down that, as Scripture

says, "One generation passes away and another comes, but the earth abides forever." We must

strengthen our stewardship of the environment so that when this generation passes, it will be a

rich and abundant earth that abides — and the coming generation will inherit a world as full and as

good as the one we have known.

                                               ###




                                                                                                 P00000132945
                               THE WHITE H O U S E
                                  W A S H I NGTON




                      FROM T H E OFFICE OF:

                           RAHM EMANUEL
         SENIOR ADVISOR T O T H E P R E S I D E N T

DATE:

PAGES:

TO:                        ggNJJAM/M
FROM:

FAX NUMBER:

COMMENTS:




      If there are any problems with this transmission please call (202) 456-2531




                                                                              P00000132946
       We know what the goal is: xxx.

       Each nation must take steps to meet that goal. We must each address our own situations,
meet our own needs, each taking our own responsibility toward that global goal.

         Over the past two and a half decades, the United States has acted to reduce pollution and
protect our environment. We have made real progress; our air is cleaner, our water purer, our
food safer. Yet we have far to go. In the United States, childhood asthma is growing rapidly, and
is the single biggest reason that children are hospitalized.

        This past week, the United States has acted to take dramatic steps to reduce air pollution.
Yesterday, I announed new standards for soot and smog « t h e most dramatic step to protect
clean air in [x] years. This new standard will

       This new standard I will not pretend that this standard is not controversial within the
United States. It underscores that real change requires real choices; that the task of protecting
our environment will affect every busines, every family, every city, and our national governments.
But protecting our children is too important ~ and it is the right thing to do. NOTE: DAN: THIS
IS SIMILAR TO THE PARAGRAPH YOU ALREADY HAVE ...

        With the action that I have taken, the United States will make a down payment on the
action the world must take to forestall climate disruption ~ with a 10% reduction in ozone from
this one action alone. This is a major step ~ but it must be only the first step. We must continue
to find ways to address climate change, etc etc




                                                                                              P00000132947
                       Achieving Clean Air in Common Sense,
                           Flexible and Affordable Ways

        Although the law requires EPA to set air quality standards that, above all, protect the public health,
the agfency has developed a plan for affordably meeting the new standards through common sense measures.
Along with any final standards for ozone and particulate matter, EPA will issue an implementation
package designed to give states, local governments and business the new flexibility they'll need to meet
protective public health standards in a reasonable, cost-effective way.


Implementing the Ozone Standard

AVOID NON-COMPLIANCE "STIGMA" ~ EPA will not need to designate as non-attainment areas
those in which anticipated regional measures will provide the bulk of the needed ozone reductions. EPA
will create a new "transitional" classification for these counties — one that will avoid burdensome new local
planning requirements and restrictions on economic growth.

FOCUS ON UTILITY EMISSIONS - EPA will work from a regional plan developed collectively by 37
states over the last two years to address the long-distance transport of ozone. This plan focuses on major
power plants (which offer the most cost-effective opportunities for reducing pollution) to reduce nitrogen
oxide, a key ingredient of smog. These reductions alone should be enough to allow most of the newly non-
attainment counties to be able to comply with the new standard.

DELIVER CLEAN AIR FASTER ~ By participating in the regional ozone reduction plan, counties that
are not in compliance with the new standard will quickly achieve significant reductions in their ozone levels.

ALLOW MORE TIME TO COMPLY - States and counties participating in the regional pollution
control strategy will have at least until the year 2004 to meet the new standard.


Implementing the Standard for Particulate Matter

ENSURE STRONG SCIENCE FOR IMPLEMENTATION - In order to ensure that implementation
continues to reflect the best current science, EPA would complete another full scientific review of the health
effects of fine particulates before any "non-attainment" designations would be made or local controls
mandated.

ALLOW TIME TO ESTABLISH PROGRAM - Because the new standard would regulate fine
particulates for thefirsttime, EPA will allowfiveyears to build a nationwide monitoring network, and to
gather and analyze the data needed to designate areas and develop implementation plans.

PROVIDE A REASONABLE TIMETABLE FOR COMPLIANCE - Once it has the data, EPA would
use its discretion under the Clean Air Act to allow another three years for areas that aren't in compliance to
submit air quality plans on how they'll meet the new standard, a year-and-a-half for review of these plans,
and several more years for many areas to actually comply with the new standard. This will give business
additional time to find the most cost-effective pollution controls.

GIVE CREDIT FOR REDUCTIONS UNDER 1990 CLEAN AIR ACT - No areas will be designated
as non-attainment if they will eventually meet the new particulate matter standard based on their reductions
in sulfate emissions (which contain particulate matter) that are already required by the 1990 Clean Air Act
acid rain provisions. These will take effect in the year 2000.




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                        Updated Air Quality Standards
       - EPA's recommendedfinalstandards for particulate matter and ozone
    (otherwise known as soot and smog) will be a major step forward in protecting the
    publicfromthe health hazards of air pollution. These updated standards, the
    product of many years of intensive scientific review, move us toward fulfilling the
    Clean Air Act's goal of ensuring Americans that their air is safe to breathe. The
    new standards will provide new health protections to 125 million Americans,
    including 35 million children.

    Particulate Matter
          The standardfor coarse particles remains essentially unchanged, while a
    new standardfor fine particles will be set at an annual limit of 15 micrograms per
    cubic meter, with a 24-hour limit of 65 micrograms per cubic meter.

    •     This is thefirsttime ever that the government has set a public health standard
          for fine particle pollution.

    •     Scientists say thatfineparticles ~ those measuring 2.5 micrometers in
          diameter and smaller - are some of the most damaging to human health"
$         because they penetrate and remain in the deepest passages of the lungs.

    •     This new standard, as revisedfromEPA's original proposal, will provide new
          protections to nearly 70 million Americans, and will prevent approximately
          15,000 premature deaths each year.

    •     By setting an annual limit of 15 micrograms per cubic meter, the new
          standard focuses on the most important issue -- controlling the amount of
          pollution and exposure to which Americans are subjected — and therefore
          addresses the most significant health concerns.

    •     A moreflexible24-hour standard of 65 micrograms per cubic meter, revised
          from the original EPA proposal, will give greater flexibility to individual
          sources of pollution, while still ensuring that the health of the American
          people is protected.




                                                                               P00000132949
Ozone
   » For ozone, the recommendedfinal standard will be updatedfrom 0.12 parts
per million of ozone measured over one hour to a standard of 0.08 parts per
million measured over eight hours, with four exceedences of the standard allowed
before an area is deemed to be out of compliance.

•     This is thefirsttime in 20 years that the ozone standard will be updated.

•     The updated standard recognizes the current scientific view that exposure to
      ozone levels at and below the current standard causes significant adverse
      health effects in children and in healthy adults engaged in outdoor activities.

•     The new 0.08 standard is much stronger and more protective than the old
      standard of 0.12. It will extend new health protections to 35 million people,
      bringing to 113 million the number of Americans protected by the air quality
      standard for ozone.

•     For children, the new standard will reduce respiratory problems, such as
      asthma attacks. It will result in one million fewer incidences of decreased
      lung function in children each year.

•     By movingfroma one-hour to an eight-hour measurement, the standard will
      better reflect the real-world effects of ozone on human health.

•     By focusing on concentration of ozone, the new standard will do more than
      merely designate high-pollution areas as out of compliance ~ for the first
      time, it will also respond to health concerns based on how much an area is out
      of compliance.

•     Increasing the number of exceedences -fromthree (as originally proposed
      by EPA) to four ~ will provide greater stability in the designation of areas,
      consistent with providing strong public health protections.




                                                                            P00000132950
Implementation of the Standards

    v Although the law requires EPA to set air quality standards that, above all,
protect the public health, the agency has developed a plan for affordably meeting
the new standards through common sense measures. Along with these final
standards for ozone and particulate matter, EPA will issue an implementation
package designed to give states, local governments and business the new flexibility
they '11 need to meet protective public health standards in a reasonable, cost-
effective way.

•     The Ozone Implementation Package will use a regional, state-sponsored
      plan to address the long-distance transport of ozone. As that plan's
      reductions take effect, the vast majority of areas that do not currently meet
      the new ozone standard will be able to do so without any additional new local
      pollution controls or measures. In those circumstances, those areas will not
      be designated as non-attainment areas. In order to help them avoid
      burdensome measures associated with non-compliance, EPA will create a
      new "transitional" classification for these areas and extend the deadlines for
      compliance to the year 2004.

•     The Particulate Matter Implementation Package will give businesses •
      ample time to find the most cost-effective pollution controls. In addition, EPA
      will complete another full scientific review of the health effects of fine
      particulates before any "non-attainment" designations are made or local
      controls mandated. EPA will allowfiveyears to gather and analyze
      necessary data, and then use its discretion under the Clean Air Act to allow
      another three years for areas that are not in compliance to submit air quality
      plans on how they will meet the new standard. Following another year and a
      half for review of the plans, it will be several more years before many areas
      will actually have to comply with the new standard.




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     / A  \              UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
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                                               June 25,1997

     MEMORANDUM FOR KATIE MCGINTY, MICHAEL WALDMAN AND KATHLEEN
     WALLMAN

     FROM:          LORETTA UCELLI

     SUBJECT:       CLIMATE CHANGE



             The folio-wing language on the impact of the new air quality standards on global climate
     change may be helpful in preparing for the President's speech tomorrow at the United Nations.
     Please call me or Stephanie Cutter at 260-9828 if you have any questions or need further
     information.


     IMPACT OF NEW AIR QUALITY STANDARDS ON CLIMATE CHANGE:

            The new air quality standards announced yesterday will help address the global          \
            warming problem by reducing the carbon emissions that contribute to climate             1
            change by more than 35 million tons per year — a significant downpayment on               I
            expected future international commitments.            ™ ^•SBB*^,^                       /




                                                                                                        P00000132953
                      PRESIDENT CLINTON'S ADDRESS TO                                    DRAFT 6/25
                   UN GENERAL ASSEMBLY SPECIAL SESSION

                                        JUNE 26,1997

President Clinton reaffirms the "spirit of Rio" and highlights the importance of promoting
sustainable development for the 21st century.

President Clinton speaks to the American people about climate change.

•      The science is compelling. Climate change threatens sea-level rise, more severe
       droughts and floods, forest loss and the spread of infectious disease.

•      The United States has clear responsibilities, as part of a global effort. With only 4%
       of the world's population, we emit more than 20% of the world's greenhouse gases.

•      Addressing this problem will not be easy. It will require sustained effort over many
       decades.

•      During the months ahead, President Clinton will speak to the American people about
       climate change and chair a White House Conference on Climate Change. He wants
       to hear from those who recognize in this global problem a global opportunity.

President Clinton announces four environment initiatives.

•     Million Solar Roofs. A program to install solar units on one million roofs in the U.S. by
      the year 2010. The Department of Energy will oversee the effort. The program will remove
      market barriers, speed federal purchasing of solar technologies and use existing authorities to
      facilitate financing of solar units.

•      AID Developing Country Climate Change Initiative. Guaranteed floor of $150 million per
       year for five years in direct aid. Goal of $25 million in credit financing, leveraged to provide a
       minimum of $250 million in additional aid for climate friendly development projects. Direct aid
       will focus on technical assistance and training for improved forest and energy sector management,
       including development of renewable energy sources and sustainable forestry.

•      Overseas Private Investment Corporation (OPIC) Environmental Program. OPIC will
       track and report annually on greenhouse gas emissions from all its power sector projects. OPIC will
       not finance projects located in primary tropical forests, protected areas or other ecologically fragile
       areas; will not finance projects involving the production or use of persistent organic pollutants and
       will not finance large dams that disrupt natural ecosystems or the livelihood of local inhabitants.
       OPIC will provide the public with an opportunity to comment on all environmentally sensitive
       projects.

•      Technology Challenge. President Clinton challenges the nations leaders in science and
       technology — in government, universities and the private sector ~ to develop the
       technologies needed to address the problem of climate change. As part of this challenge.
       President Clinton directs his Cabinet to work with the National Laboratories to embark on
       an unprecedented research effort to develop breakthrough technologies.




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